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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                 §
TEXAS, et al.,                                   §
                                                 §
         Plaintiffs,                             §
                                                 §
                                                           Civil Action No. 4:18-cv-00167-O
v.                                               §
                                                 §
UNITED STATES OF AMERICA, et                     §
al.,                                             §
                                                 §
         Defendants,                             §
                                                 §
CALIFORNIA, et al.,                              §
                                                 §
         Intervenor-Defendants.                  §
                                                 §
                                               ORDER

         Before the Court is Individual Plaintiffs’ Counsel Jonathan F. Mitchell’s Unopposed Motion

to Withdraw as Counsel, (ECF No. 209), filed December 8, 2018. Having considered the motion,

the Court finds that it should be and is hereby GRANTED. Jonathan F. Mitchell is withdrawn as

counsel for Plaintiffs Neill Hurley and John Nantz, and the Clerk of Court is DIRECTED to update

the docket sheet consistent with this Order.

         SO ORDERED on this 11th day of December, 2018.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
